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                                          Filed 02/16/22 Page 1 of 1                         CO-290
 Notice of Appeal Criminal                                                                 Rev. 3/88



          United States District Court for the District of Columbia

 UNITED STATES OF AMERICA                           )
                                                    )
                       vs.                          )        Criminal No. 21-cr-147-02 (CKK)
                                                    )
  VIRGINIA MARIE SPENCER                            )


                                      NOTICE OF APPEAL


Name and address of appellant:                     United States of America




Name and address of appellant’s attorney:          Elizabeth H. Danello, Assistant US Attorney
                                                   Office of the US Attorney for the District of
                                                   Columbia
                                                   555 4th Street, NW
                                                   Washington, DC 20001

Offense: 40 USC sec 5104(e)(2)(G)

Concise statement of judgment or order, giving date, and any sentence:
     Order, entered on docket on January 19, 2022, granting defendant's Motion to Correct
     Judgment


Name and institution where now confined, if not on bail: N/A


        I, the above named appellant, hereby appeal to the United States Court of Appeals for the
District of Columbia Circuit from the above-stated judgment.
         February 16, 2022                              United States of America
  DATE                                              APPELLANT
                                                                Elizabeth H. Danello /s/
                                                    ATTORNEY FOR APPELLANT

GOVT. APPEAL, NO FEE         ✔
CJA, NO FEE
PAID USDC FEE
PAID USCA FEE                                                     xx
                                                                       XX         x
Does counsel wish to appear on appeal?                          YES          NO
Has counsel ordered transcripts?                                YES          NO ✔
Is this appeal pursuant to the 1984 Sentencing Reform Act?      YES          NO ✔
